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Angela D, Caesar, Clerk of Court
U.S. District C Bistrict of Columbia

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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Committee On Ways And Means Civil Action No. 1:19-cv-1974 (TNM)

United States House Of Representatives
Motion For Leave To File

Brief On Why The Decision By The

U.S. Court of Appeals In The Case

Of Trump v. Mazars Is Not Applicable

To This Case

Plaintiff

United States Department Of The
Treasury et. al.

Defendants

Donald J. Trump, et. al.

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Defendants Judge: Trevor N. McFadden

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Comes Now, Amicus Mr. Cox Moving To File a Brief On Why The Decision By The
U.S. Court of Appeals In The Case Of Trump v. Mazars Is Not Applicable To This Case.

This Brief is of importance because in the this case the House Ways & Means
Committee seeks the Trump et. al. tax returns and related records for about 8 years, while in the
Court of Appeals Opinion, for the case of Mazarrs, where the House Oversight Committee seeks
the Trump et. al. financial records for a similar time period - but the Court of Appeals erred by
not determining if it had Jurisdiction pursuant to Nixon y. Fitzgerald, 457 U.S. 731 before ruling
on the merits. Thus, the decision is not applicable to this case unless this Court determines if it
has Jurisdiction pursuant to Nixon.

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Duane Morley Cox, Amicus, proSe Pg 1 Date
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Certificate Of Service

I, Duane Morley Cox, Pro Se, does hereby swear that ond D- October 2019 that I did
serve a true and correct copy of the attached Motion For Leave To File a Brief On Why The
Decision By The U.S. Court of Appeals In The Case Of Trump v. Mazars Is Not
Applicable To This Case to the below listed parties by Fed Ex or first class mail, postage
prepaid.

Clerk’s Office (Original) Office Of General Counsel

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Duane Morley Cox, Amicus, ProSe ~ Date
